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                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

            Plaintiff,                         Case No. 1:12-cr-21-BLW

      v.                                       AMENDED JUDGMENT

DELIA GARCIA-PINEDA,

            Defendant.



      Finding good cause therefore,

      NOW THEREFORE IT IS HEREBY ORDERED, that the motion to reduce

sentence for defendant Delia Garcia-Pineda (docket no. 330) is GRANTED.

      IT IS FURTHER ORDERED, that the Judgment (docket no. 283) be AMENDED

to STRIKE the term of imprisonment of 37 months and SUBSTITUTE a term of

imprisonment of 27 months.



                                             DATED: February 12, 2014


                                             _________________________
                                             B. Lynn Winmill
                                             Chief Judge
                                             United States District Court
